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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    DONALD GOLDEN,                                    Case No. 10-cv-00437-JSW

                                   8                   Plaintiff,
                                                                                          ORDER REGARDING DEFENDANTS'
                                   9            v.                                        BILL OF COSTS AND SETTING CASE
                                                                                          MANAGEMENT CONFERENCE
                                  10    CALIFORNIA EMERGENCY
                                        PHYSICIANS MEDICAL GROUP, et al.,                 Re: Dkt. No. 163, 171
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On December 12, 2016, Defendants filed a bill of costs after this Court granted their

                                  14   motion to enforce a settlement agreement. On January 23, 2017, the Court issued an Order to

                                  15   Show Cause as to why Defendants were legally entitled to recover costs. Defendants and Plaintiff

                                  16   filed timely responses to that Order to Show Cause.

                                  17          On September 18, 2017, the Court deferred ruling on Defendants’ bill of costs pending

                                  18   resolution of Plaintiff’s appeal. On June 24, 2018, the United States Court of Appeals reversed

                                  19   this Court’s Order granting Defendants’ motion to enforce the settlement agreement, and the

                                  20   mandate issued on August 21, 2018. In light of the Ninth Circuit’s opinion, the issues regarding

                                  21   Defendants’ bill of costs are moot.

                                  22          The parties are HEREBY ORDERED to appear for a case management conference on

                                  23   Friday, October 12, 2018 at 11:00 a.m. in Courtroom 5, United States District Courthouse, 1301

                                  24   Clay Street, Second Floor, Oakland, California. The parties shall meet and confer, as that term is

                                  25   defined in the Northern District Civil Local Rules, in advance of that conference for purposes of

                                  26   preparing a joint case management conference statement which conforms with the Standing Order

                                  27   for All Judges of the Northern District of California – Contents of Joint Case Management

                                  28   Conference Statement.
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                                                                            nference stattement shall be due by nno later than October 5,

                                   2   201
                                         18.

                                   3           IT IS SO
                                                     S ORDER
                                                           RED.

                                   4   Daated: August 27, 2018

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                                                                                       JEFFFREY S. W WHITE
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